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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                               Plaintiffs,         Case No. 1:20-cv-03010-APM

 v.                                                HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.




 State of Colorado, et al.,

                               Plaintiffs,         Case No. 1:20-cv-03715-APM

 v.                                                HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.


            DEFENDANT GOOGLE LLC’S PROPOSED FINAL JUDGMENT

       WHEREAS, Plaintiffs United States of America, and the States and Commonwealths of

Arkansas, California, Georgia, Florida, Indiana, Kentucky, Louisiana, Michigan, Missouri,

Mississippi, Montana, South Carolina, Texas, and Wisconsin, by and through their respective

Attorneys General, filed their Complaint on October 20, 2020, and their Amended Complaint on

January 15, 2021;

       AND WHEREAS, Plaintiffs Colorado, Nebraska, Arizona, Iowa, New York, North

Carolina, Tennessee, Utah, Alaska, Connecticut, Delaware, District of Columbia, Guam, Hawaii,

Idaho, Illinois, Kansas, Maine, Maryland, Massachusetts, Minnesota, Nevada, New Hampshire,


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New Jersey, New Mexico, North Dakota, Ohio, Oklahoma, Oregon, Pennsylvania, Puerto Rico,

Rhode Island, South Dakota, Vermont, Virginia, Washington, West Virginia, and Wyoming filed

their Complaint on December 17, 2020;

        AND WHEREAS, the Court conducted a trial and entered Findings of Fact and

Conclusions of Law in both actions on August 5, 2024 accepting certain claims and rejecting

certain claims of Plaintiffs;

        NOW THEREFORE, upon the record at trial and all prior and subsequent proceedings, it

is hereby ORDERED, ADJUDGED, AND DECREED:

I.      JURISDICTION

        This Court has jurisdiction over the subject matter of this action and over Google LLC

(“Google”).

II.     APPLICABILITY

        This Final Judgment applies to Google and to each of its officers, directors, agents,

employees, subsidiaries, successors, and assigns.

III.    PROHIBITED CONDUCT

        A.      Google shall not enter into any agreement with a mobile device manufacturer that

conditions the licensing of Google Play or any other Google software application on that mobile

device manufacturer also distributing, preloading, placing, displaying, using, or licensing the

Google Search Application on mobile phones and tablets sold in the United States.

        B.      Google shall not enter into any agreement with a mobile device manufacturer that

conditions the licensing of Google Play or any other Google software application on that mobile

device manufacturer also distributing, preloading, placing, displaying, using, or licensing the

Chrome Browser Application on mobile phones and tablets sold in the United States.



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       C.      Google shall not enter into any agreement with a mobile device manufacturer that

conditions the licensing of the Google Search Application, the Chrome Browser Application, or

Google Play, on the mobile device manufacturer also distributing, preloading, placing,

displaying, using, or licensing the Google Assistant Application on mobile phones and tablets

sold in the United States.

       D.      Google shall not enter into any agreement with a mobile device manufacturer that

conditions the licensing of the Google Search Application, the Chrome Browser Application, or

Google Play, on the mobile device manufacturer also distributing, preloading, placing,

displaying, using, or licensing the Gemini Assistant Application on mobile phones and tablets

sold in the United States.

       E.      Google shall not enter into any agreement with a mobile device manufacturer or

wireless carrier that conditions (i) Consideration or (ii) the license of Google Play or any Google

software application, on that mobile device manufacturer or wireless carrier refraining from

developing, distributing, preloading, placing, displaying, using, selling, or licensing any Third-

Party General Search Service on mobile phones and tablets sold in the United States.

       F.      Google shall not enter into any agreement with a mobile device manufacturer or

wireless carrier that conditions (i) Consideration or (ii) the license of Google Play or any Google

software application, on that mobile device manufacturer or wireless carrier refraining from

developing, distributing, preloading, placing, displaying, using, selling, or licensing any Third-

Party Browser on mobile phones and tablets sold in the United States.

       G.      Google shall not enter into any agreement with a mobile device manufacturer or

wireless carrier that conditions (i) Consideration or (ii) the license of Google Play or any Google

software application, on that mobile device manufacturer or wireless carrier refraining from



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developing, distributing, preloading, placing, displaying, using, selling, or licensing any Third-

Party Generative AI Assistive Service on mobile phones and tablets sold in the United States.

       H.        Google shall not enter any agreement with a mobile device manufacturer or

wireless carrier that conditions the payment for preload, placement, or assignment of an access

point for the Google Search Application on the preload, placement, or assignment of any other

access point to any of Google Search, the Chrome Browser Application, the Google Assistant

Application, and/or the Gemini Assistant Application on mobile phones and tablets sold in the

United States.

       I.        Google shall not enter any agreement with a mobile device manufacturer or

wireless carrier that conditions the payment for preload, placement, or assignment of an access

point for the Chrome Browser Application on the preload, placement, or assignment of any other

access point to any of the Google Search Application, the Google Assistant Application, and/or

the Gemini Assistant Application on mobile phones and tablets sold in the United States.

       J.        Google shall not enter any agreement with a mobile device manufacturer or

wireless carrier that conditions the payment for preload, placement, or assignment of an access

point for the Google Assistant Application or the Gemini Assistant Application on the preload,

placement, or assignment of any other access point to any of the Google Search Application

and/or the Chrome Browser Application on mobile phones and tablets sold in the United States.

       K.        Google shall not enter into any agreement requiring a Browser Developer to set

Google Search as the Browser Default Search Engine in a Third-Party Browser in the United

States unless the agreement (i) permits the Browser Developer on an annual basis to set a

different Default Search Engine in the United States for any Operating System Version and/or

Privacy Mode offered by the Browser Developer without foregoing any payments attributable to



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an Operating System Version or Privacy Mode where Google Search remains set as the Default

Search Engine; and (ii) expressly permits the Browser Developer to promote any Third-Party

General Search Service.

       L.      Google shall not enter any agreement requiring Apple Inc. (“Apple”) to set

Google Search as the Default Search Engine in the United States with respect to any proprietary

Apple feature or functionality, including Siri and Spotlight, unless the agreement complies with

Section K above.

       M.      Nothing in this Final Judgment shall otherwise prohibit Google from providing

Consideration to a mobile device manufacturer or wireless carrier with respect to any Google

product or service in exchange for such entity’s distribution, placement on any access point,

promotion, or licensing of that Google product or service.

       N.      Nothing in this Final Judgment shall prohibit Google from distributing the Google

Search Application, the Google Assistant Application, and the Gemini Assistant Application

through a single Application Programming Kit (APK) as long as the licensee has the option to

disable end-user access to any of those applications and services that the licensee declines to

license.

IV.    COMPLIANCE AND ENFORCEMENT PROCEDURES

       A.      Annual Compliance Report and Compliance Inspection

       1.      Without limiting the sovereign enforcement authority of each of the Plaintiff

States, the Plaintiff States will form a committee to coordinate their enforcement of this Final

Judgment (“Plaintiff States’ Committee”). No Plaintiff State shall take any action to enforce this

Final Judgment without first consulting with the United States and with the Plaintiff States’

Committee.



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       2.      Google will prepare and submit, on an annual basis, a written report describing its

compliance with this Final Judgment (“Annual Compliance Report”).

       3.      To determine and enforce compliance with this Final Judgment, upon written

request and on reasonable notice to Google and subject to any lawful privilege, a duly authorized

representative of the United States (after consultation with the Plaintiff States’ Committee) or of

the Attorney General of a Plaintiff State (after consultation with the United States and the

Plaintiff States’ Committee), may:

               a.      Request from Google no more than one interim written report per year

       (“Interim Report”), under oath if requested, regarding Google’s compliance with Part III

       of this Final Judgment.

               b.      Make reasonable requests to Google for production of non-privileged

       documents and records in its possession, custody, or control sufficient to verify the

       matters contained in Google’s Annual Compliance Report or Interim Report; and

               c.      Subject to the reasonable convenience of Google and without restraint or

       interference from it, interview officers, employees, or agents of Google, who may have

       counsel present, sufficient to verify the matters contained in Google’s Annual

       Compliance Report or Interim Report.

       4.      No information or documents obtained by the means provided in this section shall

be divulged by the United States or the Plaintiff States to any person, except in the course of

legal proceedings to which the United States is a party, or for the purpose of securing compliance

with this Final Judgment, or as otherwise required by law.

       5.      If, at the time information or documents are furnished by Google to the United

States or the Plaintiff States, Google identifies in writing the material in any such information or



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documents to which a claim of protection may be asserted under Rule 26(c)(1)(G) of the Federal

Rules of Civil Procedure, and Google marks each pertinent page of such material, “Confidential

and Sensitive Commercial Information Subject to Rule 26(c)(1)(G)” then the United States shall

give 10 business days’ notice prior to divulging such material in any legal proceeding.

        6.     Google shall have the right to claim protection from public disclosure, under the

Freedom of Information Act, 5 U.S.C. § 552, or any other applicable law or regulation, for any

material it submits to the United States or the Plaintiff States under this Final Judgment. After

appropriate consideration of such claim of protection, the United States or the Plaintiff States, as

the case may be, will either assert that the material is protected from disclosure under law or give

Google 10 business days’ notice of its intent to disclose the material.

        B.     Internal Compliance Officer

        1.     Google shall designate, within 30 days of entry of this Final Judgment, an internal

Compliance Officer who shall be an employee of Google with responsibility for administering

Google’s antitrust compliance program and helping to ensure compliance with this Final

Judgment.

        2.     The Compliance Officer shall supervise the review of Google’s activities to

ensure that they comply with this Final Judgment. The Compliance Officer may be assisted by

other employees of Google.

        3.     The Compliance Officer shall be responsible for performing the following

activities:

               a.      within 45 days after entry of this Final Judgment, distributing a copy of

        this Final Judgment to all officers and directors of Google;




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        b.        promptly distributing a copy of this Final Judgment to any person who

 succeeds to a position described in Paragraph IV.B.3.a;

        c.        ensuring that those persons designated in Paragraph IV.B.3.a are annually

 briefed on the meaning and requirements of this Final Judgment and the U.S. antitrust

 laws and advising them that Google’s legal advisors are available to confer with them

 regarding any question concerning compliance with this Final Judgment or U.S. antitrust

 law;

        d.        obtaining from each person designated in Paragraph IV.B.3.a an annual

 written certification that he or she: (i) has read and agrees to abide by the terms of this

 Final Judgment; and (ii) has been advised and understands that his or her failure to

 comply with this Final Judgment may result in a finding of contempt of court;

        e.        maintaining a record of all persons to whom a copy of this Final Judgment

 has been distributed and from whom the certification described in Paragraph IV.B.3.d has

 been obtained;

        f.        establishing and maintaining the website provided for in Paragraph

 IV.C.2.b;

        g.        preparing the Annual Compliance Report described in Paragraph IV.A.2

 and any Interim Report requested as described in Paragraph IV.A.3.a.

        h.        receiving complaints from third parties or the Plaintiffs concerning

 Google’s compliance with this Final Judgment and following the appropriate procedures

 set forth in Section IV.C;

        i.        maintaining a record of all complaints received and action taken by

 Google with respect to each such complaint; and



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               j.         ensuring employees retain all relevant documents and electronically stored

       information, regardless of medium or form, regarding all complaints received pursuant to

       Paragraph IV.C.1 and action taken by Google with respect to any such complaint.

       C.      Voluntary Dispute Resolution

       1.      Third parties may submit complaints concerning Google’s compliance with this

Final Judgment to the Plaintiffs or the Compliance Officer.

       2.      Submissions to the Compliance Officer.

               a.         Third parties or Plaintiffs in their discretion may submit to the Compliance

       Officer any complaints concerning Google’s compliance with this Final Judgment.

       Without in any way limiting their authority to take any other action to enforce this Final

       Judgment, the Plaintiffs may submit complaints related to Google’s compliance with

       Section III to the Compliance Officer whenever doing so would be consistent with the

       public interest.

               b.         To facilitate the communication of complaints and inquiries by parties, the

       Compliance Officer shall place on Google’s corporate website, in a manner reasonably

       acceptable to the Plaintiffs, the procedures for submitting complaints. To encourage

       whenever possible the informal resolution of complaints and inquiries, the website must

       provide a mechanism for communicating complaints and inquiries to the Compliance

       Officer.

               c.         Google shall have 30 days after receiving a complaint to attempt to resolve

       or to reject it.

V.     EFFECTIVE DATE; TERMINATION

       A.      Subject to the outcome of any motion to stay this Final Judgment pending appeal,

this Final Judgment shall take effect 120 days after the date on which it is entered.

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         B.    Pursuant to Local Rule 54.2, the deadline for any motion under Federal Rule of

Civil Procedure 54(d)(2)(B) and the proceedings as to any such motion shall be held in abeyance

pending the conclusion of any appeals from this Final Judgment.

         C.    Unless this Court grants an extension, this Final Judgment will expire on the third

anniversary of the date on which it takes effect.

VI.      DEFINITIONS

         A.    “Browser Developer” means a developer, owner, or operator of a Third-Party

Browser and includes, by way of example, Apple, Mozilla Corp., and Samsung Electronics Co.,

Ltd.

         B.    “Chrome Browser Application” means the mobile browser software application

currently marketed by Google as “Google Chrome” and its successors.

         C.    “Consideration” means any monetary payment; provision of preferential licensing

terms; technical, marketing, and sales support; developer support; or hardware or software

certification or approval.

         D.    “Default Search Engine” means a search engine that is set by a Browser

Developer to respond to user queries if a user takes no action to select a particular search engine.

         E.    “Gemini Assistant Application” means the stand-alone user-facing mobile

software application currently marketed by Google as the “Google Gemini” application (and that

application’s functionally equivalent successors) that is a generative artificial intelligence chatbot

that has among its principal functions answering information-seeking prompts across a wide

variety of topics using a broad range of publicly available information.

         F.    “Google Assistant Application” means the user-facing mobile assistive service

software application marketed by Google as “Google Assistant” and its successors.



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       G.      “Google Play” means the user-facing mobile software application distribution

service currently marketed by Google as the “Play Store” and its successors.

       H.      “Google Search” means the web search and search advertising services offered by

Google at Google.com.

       I.      “Google Search Application” means the user-facing mobile online search

software application currently marketed by Google as the “Google app” or the “Google Search

app” (and its successors).

       J.      “Operating System Version” means a web browser version designed to be

installed and used on a particular desktop or mobile operating system including, by way of

example, Microsoft Windows, Apple iOS, Apple Mac OS, Apple iPad OS, or Android.

       K.      “Plaintiff States” means the States and Commonwealths of Arkansas, California,

Georgia, Florida, Indiana, Kentucky, Louisiana, Michigan, Missouri, Mississippi, Montana,

South Carolina, Texas, and Wisconsin, Colorado, Nebraska, Arizona, Iowa, New York, North

Carolina, Tennessee, Utah, Alaska, Connecticut, Delaware, District of Columbia, Guam, Hawaii,

Idaho, Illinois, Kansas, Maine, Maryland, Massachusetts, Minnesota, Nevada, New Hampshire,

New Jersey, New Mexico, North Dakota, Ohio, Oklahoma, Oregon, Pennsylvania, Puerto Rico,

Rhode Island, South Dakota, Vermont, Virginia, Washington, West Virginia, and Wyoming.

       L.      “Privacy Mode” means a mode within a web browser that is designed to offer a

preconfigured privacy setting and includes, by way of example, Private Browsing in Apple

Safari, Private mode in Mozilla Firefox, and Secret mode in Samsung Internet.

       M.      “Third-Party Browser” means any web browser that is not Google Chrome or

another proprietary Google web browser and includes, by way of example, Apple Safari, Mozilla

Firefox, and Samsung Internet.



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         N.     “Third-Party General Search Service” means a web search service that can

respond to a broad range of search query categories and offers functionality that is substantially

similar to Google Search, and is not owned by Google or its affiliates.

         O.     “Third-Party Generative AI Assistive Service” means a stand-alone mobile

software application that is a generative artificial intelligence chatbot that has among its principal

functions answering information-seeking prompts across a wide variety of topics using a broad

range of publicly available information, and that is not owned by Google or its affiliates.

VII.     THIRD-PARTY RIGHTS

         Nothing in this Final Judgment is intended to confer upon any other persons any rights or

remedies of any nature.

VIII. RETENTION OF JURISDICTION

         This Court retains jurisdiction for the purpose of enabling any of the parties to this Final

Judgment to apply for such further orders or directions as may be necessary or appropriate to

carry out or construe this Final Judgment, to modify or terminate any of its provisions, and to

enforce compliance.




Dated:
                                                                       Amit P. Mehta
                                                            United States District Court Judge




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